     Case 8:22-cv-00874-RGK-DFM Document 24 Filed 08/30/22 Page 1 of 1 Page ID #:69



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 8                                 UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10    KRISTIN LANGLOIS,                                   Case No. 8:22-cv-00874-RGK-DFMx
11                          Plaintiff(s),
                                                          ORDER DISMISSING ACTION FOR
12    vs.                                                 LACK OF PROSECUTION
13    HENRY LEGAL GROUP, PLLC,
14                          Defendant(s).
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16            On August 19, 2022, the Court issued an Order to Show Cause re Dismissal for Lack of
17    Prosecution (“OSC”) [20], which ordered plaintiff to file timely proof of service of the summons
18    and complaint on all defendants or respond to the Order to Show Cause in writing on or before
19    August 25, 2022. The Court is in review of the response filed by Plaintiff [23] on August 25,
20    2022.
21            Finding no good cause shown, the Court orders the matter dismissed for lack of
22    prosecution.
23            IT IS SO ORDERED.
24    Dated: August 30, 2022
                                                          R. GARY KLAUSNER
25                                                        UNITED STATES DISTRICT JUDGE
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